            Case 2:20-cv-02161-MMD-DJA Document 8 Filed 11/24/20 Page 1 of 2




 1   KAEMPFER CROWELL
     Ryan M. Lower, NV Bar No. 9108
 2   1980 Festival Plaza Drive, Suite 650
 3   Las Vegas, NV 89135
     Tel: 702-792-7000
 4   Fax: 702-796-7181
     RLower@kcnvlaw.com
 5
     MCDERMOTT WILL & EMERY LLP
 6   Michael P. Chu (pro hac vice forthcoming)
 7   Brian A. Jones (pro hac vice forthcoming)
     444 West Lake Street, Suite 4000
 8   Chicago, IL 60606
     Tel: 312-372-2000
 9   Fax: 312-984-7700
     mchu@mwe.com
10
     bajones@mwe.com
11

12                         IN THE UNITED STATES DISTRICT COURT
13                                     DISTRICT OF NEVADA
14

15   TRAEGER PELLET GRILLS LLC,                  Case No. 2:20-cv-02161-APG-DJA
16                       Plaintiff,
17                                               PLAINTIFF’S DISCLOSURE
     v.                                          STATEMENT PURSUANT TO FED. R.
18   GMG PRODUCTS LLC,                           CIV. P. 7.1 AND LR 7.1-1
19                     Defendant.
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            Case 2:20-cv-02161-MMD-DJA Document 8 Filed 11/24/20 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, the undersigned

 2   counsel of record for Plaintiff Traeger Pellet Grills LLC certifies that the following have an

 3   interest in the outcome of this case or are related entities in the case: There are no known

 4   interested parties other than those participating in this case.

 5          Plaintiff Traeger Pellet Grills LLC states that it is not publicly traded, its parent

 6   corporation is Traeger Pellet Grills Intermediate Holdings, LLC, and that no publicly held

 7   corporation owns 10% or more of its stock. These representations are made to enable judges of

 8   the Court to evaluate possible disqualifications or recusal.
 9
     Dated: November 24, 2020                           Respectfully submitted,
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12                                                      /s/ Ryan M. Lower
13                                                      Ryan M. Lower, NV Bar No. 9108
                                                        KAEMPFER CROWELL
14                                                      1980 Festival Plaza Drive, Suite 650
                                                        Las Vegas, NV 89135
15                                                      Tel: 702-792-7000
                                                        Fax: 702-796-7181
16
                                                        RLower@kcnvlaw.com
17
                                                        Michael Chu
18                                                      Brian Jones
                                                        MCDERMOTT WILL & EMERY LLP
19                                                      444 West Lake Street, Suite 4000
                                                        Chicago, IL 60606
20
                                                        Telephone: (312) 372-2000
21                                                      mchu@mwe.com
                                                        bajones@mwe.com
22

23                                                      Counsel for Complainant
                                                        Traeger Pellet Grills LLC
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